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13

14                       IN THE UNITED STATES DISTRICT COURT
15                IN AND FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                              SAN FRANCISCO DIVISION

17
     THE UNITED STATES OF AMERICA,           )   DECLARATION OF KERRIE C. DENT IN
18                                           )
               Plaintiff,                        SUPPORT OF ANDRADE’S MOTION FOR
                                             )   RECONSIDERATION OF MOTION FOR
19        vs.                                )
                                             )   AN EVIDENTIARY HEARING TO
20   ROWLAND MARCUS ANDRADE,                 )   ADDRESS GOVERNMENT MISCONDUCT
              Defendant.                     )   AND TO SEEK SANCTIONS, INCLUDING
21                                           )   POTENTIAL DISMISSAL OF THE
                                             )   INDICTMENT
22                                           )
                                             )   No. 3:20-cr-00249-RS
23                                           )   Judge: Hon. Richard Seeborg
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      DECL. ISO MOTION FOR RECONSIDERATION                        Case Number: 3:20-cr-00249-RS
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 1          Kerrie C. Dent, counsel for Defendant Marcus Andrade, states as follows:
 2          1.      I am one of the lawyers representing Defendant Marcus Andrade in the above-
 3   captioned matter. I file this declaration in support of Mr. Andrade’s Motion for Reconsideration
 4   of the Court’s Denial of His Motion for an Evidentiary Hearing to Address Government
 5   Misconduct and to Seek Sanctions, Including Potential Dismissal of the Indictment.
 6          2.      I have personal knowledge of the evidence in this case. In addition, over the past
 7    several months, I have spoken and emailed with our proffered witnesses and/or individuals with
 8    direct knowledge of their personal situations and the information they are willing to share on the
 9    witness stand. If called as a witness in this matter, I could competently testify about these
10    matters.
11          3.     I am filing a motion for reconsideration of the Court’s February 5, 2025 denial of
12    Mr. Andrade’s motion for an evidentiary hearing and to address the government’s misconduct
13    based on new evidence that I learned of yesterday. Specifically, I learned yesterday, in a phone
14    call, that Agent Buma would be willing to provide more detailed evidence than he had
15    previously indicated.
16          4.     One of my confidential sources, who speaks directly with Agent Buma on a
17    regular basis, informed me yesterday that Agent Buma could testify that notes taken by Jack
18    Abramoff around May 31, 2018, while in a meeting with Ukrainian businessman Alexander
19    Levin and Ukrainian billionaire Igor Kolomoisky, relate to two right-wing political campaigns
20    Abramoff was running. Abramoff’s two campaigns were the “Anti-Corruption” campaign
21    (aimed at tying Joe Biden, Trump’s chief political rival at the time, to corruption in Ukraine);
22    and the “V/V” campaign (a pro-Russia, pro-Putin campaign). A key element to both campaigns
23    was the use of media to spread the desired narrative. I was told that Agent Buma also could
24    testify that his interpretation of Abramoff’s notes is that the funding for these campaigns came,
25    in part, from the promotion and sale of AML Bitcoin. My confidential source told me that
26    Agent Buma has said that he would appear to provide testimony unless his employer, the FBI,
27    intervened to prevent him from doing so.
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 1           5.     I also want to clarify for the Court that the testimony of Mr. Andrade’s other

 2    proffered witness, May Edwards, about “[t]he systematic suppression of information … [she]

 3    witnessed at Treasury in 2016 through 2018 included information about potential international

 4    money laundering by Jack Abramoff,” also relates to this case. Her statement that Abramoff

 5    suppressed money laundering, “often us[ing] a shell company called Landfair Capital

 6    Consulting, LLC to hide the transactions,” ties her testimony to this case because the Landfair

 7    Capital account, dubbed the “money connection” by the case agents when they were

 8    investigating Abramoff, was used for purchases of AML Bitcoin made by Abramoff and his

 9    fellow miscreants and for certain AML Bitcoin expenditures, and was also used to camouflage

10    Abramoff’s wrongdoing while he was working with AML Bitcoin.

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12           I declare under penalty of perjury under the laws of the United States that the foregoing

13    is true and correct.

14           Executed on February 6, 2025, in San Francisco, California.

15
                                                             /s/ Kerrie C. Dent
16                                                         Kerrie C. Dent
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      DECLARATION ISO MOTION FOR RECONSIDERATION                          Case Number: 3:20-cr-00249-RS
